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                           EXHIBIT J
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U.S. Patent No. 11,238,344
Claim 1                    Exemplary Infringement Evidence1
[1pre]      A      system Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
comprising:                enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
                           infringes the ’344 patent. Each of these vehicles is an example of a system that includes a processor,
                           memory, etc. The Tesla fleet includes over a million of such customer vehicles. A fleet of Tesla
                           vehicles alone or together with the Tesla DoJo super computer is also an example of a covered system.

                               As a driver drives a Tesla vehicle, the vehicle learns various circumstances (e.g., pedestrians, other
                               vehicles, roads, buildings, bikes, road debris, animals, etc.) as well as driving instructions (e.g.,
                               instructions for effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate those
                               circumstances. This driving knowledge learned on one Tesla vehicle is transmitted to the Tesla DoJo
                               computer and then distributed to all vehicles in Tesla fleet via over-the-air (OTA) software updates.
                               The fleet, therefore, enables each vehicle in the fleet to autonomously implement driving instructions
                               learned on one or more originating vehicles when similar circumstances are detected by any of the
                               vehicles in Tesla fleet, thereby enabling their autonomous driving.

                               Tesla explains its object detection (e.g., circumstance representation) technology as follows:




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    These infringement contentions are prepared with publicly available information.
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        https://www.youtube.com/watch?v=33K3id2xNAE&t
        “so object detection is something we care a lot about we’d like to put bounding boxes around say the
        cars and the objects here because we need to track them and we need to understand how they might
        move around so again we might ask human annotators to give us some annotations for these and
        humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
        and you can train your neural network on this but if you’re not careful the neural network all will make
        miss predictions in some cases”




        https://www.youtube.com/watch?v=33K3id2xNAE&t
        “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
        network actually when I joined would actually create two deductions it would create a car deduction
        and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
        exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
        the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
        of like just objects on the road there’s a single object a single car and so what you’d like to do now is
        you’d like to just potentially annotate lots of those images as this is just a single car so the process that
        we that we go through internally in the team is that we take this image or a few images that show this
        pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
        source us examples that look like that and the fleet might respond with images that contains those
        patterns”




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        “so as an example these six images might come from the fleet they all contain bikes on backs of cars
        and we would go in and we would annotate all those as just a single car and then the the performance of
        that detector actually improves and the network internally understands that hey when the bike is just
        attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
        how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
        look for all the thing we look for lots of things all the time.”




        “so for example we look for boats and the fleet can respond with boats we look for construction sites
        and the fleet can send us lots of construction sites from across the world we look for even slightly more
        rare cases”




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        “so for example finding debris on the road is pretty important to us so these are examples of images that
        have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
        source these at scale we can annotate them correctly and the neural network will learn how to deal with
        them in the world”




        “here’s another example animals of course also a very rare occurrence an event but we wanted the
        neural network to really understand what’s going on here that these are animals and we want to deal
        with that correctly”




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        “so to summarize the process by which we iterate on neural network predictions looked something like
        this we start with a seed data set that was potentially sourced at random we annotate that data set and
        then we train your networks on that data set and put that in the car and then we have mechanisms by
        which we notice inaccuracies in the car when this detector may be misbehaving”




        “so for example if we detect that the neural network might be uncertain or if we detect that or if there’s
        a driver intervention or any of those settings we can create this trigger infrastructure that sends us data
        of those inaccuracies and so for example if we don’t perform very well on lane line detection on tunnels
        then we can notice that there’s a problem in tunnels that image would enter our unit tests so we can
        verify that we’ve actually fixing the problem over time but now what you do is to fix this inaccuracy you
        need to source many more examples that look like that so we asked the fleet to please send us many

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        more tunnels and then we label all those tunnels correctly we incorporate that into the training set and
        we retrain the network redeploy and iterate the cycle over and over again and




        “so we refer to this iterative process by which we improve these predictions as the data engine so
        iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
        the training set over and over again and we do this basically for all the predictions of these neural
        networks”

        As Mr. Musk explained during Tesla AI Day all the human drivers are essentially training the neural
        net as to what is the correct course of action. See Tesla AI Day 2021 video
        https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29. This is an example of the system being
        trained with object representations and instructions from a vehicle.

        As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
        actually doing is you are annotating the data because you are steering the wheel. you're telling us how
        to traverse different environments so what we're looking at here is a some person in the fleet who took a
        left through an intersection and what we do here is we have the full video of all the cameras and we
        know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
        angle, the wheel ticks, so we put all that together and we understand the path that this person took
        through this environment and then of course we can use this for supervision [e.g., training a CNN
        through supervised learning] for the network so we just source a lot of this from the fleet, we train a
        neural network on those trajectories, and then the neural network predicts paths just from that data so
        really what this is referred to typically is called imitation learning we're taking human trajectories

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                            from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                            the same data engine crank to all of this and make this work.”
                            https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                            In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the DoJo super
                            computer where it is synthesized with other driving knowledge, (iii) packaged and sent from the DoJo
                            to the fleet, e.g., the driving knowledge is stored on a memory of a second Tesla vehicle via the fleet
                            over-the-air (OTA) software update, and (iv) accessed on the second Tesla vehicle for its autonomous
                            driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned on the first
                            Tesla vehicle and synthesized on the DoJo.
[1a] one or more            Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the
processors configured to    full self-driving computer/chip) configured to perform full self-driving.
perform at least:




                            See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11
                            (Tesla full self driving computer) and at 10:22 (Tesla full self driving chip).
[1b] accessing a memory     The processor of the second Tesla vehicle (the claimed “second device”) accesses its memory that
that stores at least a      stores at least a knowledgebase that includes a first circumstance representation (e.g., representation
knowledgebase that          of pedestrians, other vehicles, roads, buildings, etc.) correlated with a set of driving instructions (e.g.,
includes a first            driving instructions for effecting speed, steering, breaking, trajectory, etc.; the claimed “first one or
circumstance                more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”).
representation correlated
with a first one or more
instruction sets for
operating a first device,



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wherein the first
circumstance
representation represents a
first circumstance detected
at least in part by one or
more sensors of the first
device, and

wherein at least a portion
of the first circumstance
representation or at least a
portion of the first one or
more instruction sets for
operating the first device
is learned in a learning
process that includes
operating the first device
at least partially by a user;   See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
                                of the claimed “circumstance representation”)




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         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:32:40-48
         (combining everything together we can produce these amazing data sets that annotate all of the road
         texture or the static objects and all of the moving objects [example of the claimed “circumstance
         representation”])




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         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing
         an automatic emergency breaking system). As shown in the clip, each Tesla vehicle has sensors such as
         cameras, etc. that are used to detect a first circumstance, e.g., a pedestrian in front of the vehicle. The
         first circumstance representation, therefore, represents a circumstance such as a person in front of the
         vehicle (the claimed “wherein the first circumstance representation represents a first
         circumstance detected at least in part by one or more sensors of the first device”).




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         See also Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00
         (a stream of videos from eight cameras [the claimed “one or more sensors”] across the vehicle used to
         make a lane change).

         As detailed above, the first circumstance representation (e.g., a representation of a pedestrian in front
         the vehicle, representation of surrounding vehicles in a lane change situation, animals or debris in the
         road, a stop light, a stop sign, etc.) and the corresponding driving instructions (e.g., instructions for
         applying the breaks so the pedestrian is not hit or so that traffic laws are obeyed, or instructions for
         turning the wheel to safely change lanes or avoid an animal or debris, etc.) are learned in a process that
         involves a driver (the claimed “user”) operating the first Tesla vehicle (the claimed “wherein at least
         a portion of the first circumstance representation or at least a portion of the first one or more
         instruction sets for operating the first device is learned in a learning process that includes
         operating the first device at least partially by a user”).




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         See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
         (while you [the claimed “user”] are driving a car what you’re actually doing is you are annotating the
         data because you are steering the wheel [e.g., learned instruction] you’re telling us how to traverse
         different environments so what we’re looking at here is some person in the fleet who took a left through
         an intersection and what we do here is we have the full video of all the cameras and we know that the
         path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the wheel
         ticks, so we put all that together and we understand the path that this person took through this
         environment [circumstance representation representing the environment correlated with driving
         instructions on how to traverse the environment]. and then of course we can use this for supervision
         for the network so we just source a lot of this from the fleet, we train a neural network on those
         trajectories, and then the neural network predicts paths just from that data. … we’re taking human
         trajectories from the real world we’re just trying to imitate how people drive in real worlds)

         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
         human drivers are essentially training the neural net as to what is the correct course of action [the
         claimed driving instructions])

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                              See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video at https://www.youtube.com/watch?v=-
                              b041NXGPZ8 at 1:03:50 (everyone is training the network all the time), 1:30:55 (Tesla system learns
                              from drivers training the system), and 1:52:23 (high level chart clearly showing monitoring and
                              learning from human drivers and implementing autonomous driving based on the learned knowledge).
[1c] generating or            The processor of the second Tesla vehicle (the claimed “second device”) generates a second
receiving a second            circumstance representation that represents a current circumstance (e.g., pedestrians, other vehicles,
circumstance                  roads, buildings, animals, debris, etc.) detected at least in part by its cameras (the claimed “one or
representation, wherein the more sensors of a second device”).
second circumstance
representation represents a For instance, when the system is deployed to the fleet, a second Tesla vehicle (the claimed “second
second circumstance           device”) generates a second circumstance representation (e.g., representation of a different
detected at least in part by: pedestrian in front the vehicle, representation of different surrounding vehicles in a lane change
the one or more sensors of situation, representation of a different intersection in a left turn situation, etc.) that is detected by the
the first device, or one or   second Tesla vehicle’s sensors (e.g. cameras). The second circumstance representation is generated

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more sensors of a second   so it can be compared with previously learned circumstance representations (the claimed “first
device;                    circumstance representation”), and if a similar match (the claimed “at least partial match” in claim
                           element 1d) is found, the correlated driving instructions (the claimed “first one or more instruction
                           sets” in claim element 1b) can be used for autonomous driving.

                           Analogous evidence as for “first circumstance representation” and “one or more sensors” recited in
                           claim element 1b applies to “second circumstance representation” and “one or more sensors” here
                           (e.g., information detected by the second car’s sensors), and it is not duplicated to save space. See claim
                           element 1b.

                           As explained during the 2021 AI day, Tesla said it “discovered that we don’t just want to detect cars,
                           we want to do a large number of tasks. So for example, we want to do traffic light recognition and
                           detection, a lane prediction and so on. So very quickly, we conversioned this kind of architectural
                           layout, where there’s a common shared backbone, and then branches off into a number of heads. So we
                           call these therefore Hydra Nets. And these are the heads of the Hydra.”

                           https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/




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                               https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/
[1d] anticipating the first    The processor of the second Tesla vehicle (the claimed “second device”) anticipates a set of driving
one or more instruction        instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions for
sets for operating the first   turning the wheel to safely change lanes or to avoid an animal or debris, instructions for turning left in
device based on at least       an intersection, etc.; the claimed “first one or more instruction sets”) based on similarity (the
partial match between the      claimed “at least partial match”) between the first circumstance representation (e.g., a
second        circumstance     representation of a pedestrian in front the vehicle, a representation of surrounding vehicles in a lane
representation and the first   change situation, a representation of an animal or debris, representation of an intersection in a left turn
circumstance                   situation, etc. as previously learned on the first Tesla vehicle) and a second circumstance

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representation; and       representation (e.g., a representation of a pedestrian in front the vehicle, a representation of
                          surrounding vehicles in a lane change situation, a representation of an animal or debris, representation
                          of an intersection in a left turn situation, etc. as currently detected by the second Tesla vehicle).
                          Therefore, Tesla vehicles anticipate previously learned driving instructions based on similarity between
                          the currently generated circumstance representation and previously learned circumstance
                          representations.




                          See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (let’s see
                          an example of how the search [e.g., search for previously learned driving instructions for effecting
                          a trajectory correlated with a previously learned circumstance representation that at least
                          partially matches the incoming circumstance representation] operates. so here we’re trying to do a
                          lane change. in this case the car needs to do two back to back lane changes to make the left turn up
                          ahead. for this, the car searches over different maneuvers. so the first one it searches is a lane change
                          that’s close by but the car breaks pretty harshly so it’s pretty uncomfortable. the next maneuver it tries
                          does the lane change a bit late so it speeds up, goes beyond the other car, goes in front of the other cars,
                          and find it at the lane change but now it risks missing the left turn. we do thousands of such searches in

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                                a very short time span). See also id. at 2:32:42 (similarly, for planning, we need to bake in a search
                                [e.g., search for previously learned driving instructions for effecting a trajectory correlated with a
                                previously learned circumstance representation that at least partially matches the incoming
                                circumstance representation] and optimization into the planning, into the network architecture, and
                                once we do that we should be able to do planning very quickly).
[1e] at least in response to    The processor of the second Tesla vehicle (the claimed “second device”) executes, at least in response
the anticipating, executing     to the anticipating (claim element 1d), the previously learned set of driving instructions (the claimed
the first one or more           “first one or more instruction sets for operating the first device”) so that the second vehicle (the
instruction      sets     for   claimed “second device”) can drive autonomously based on the driving instructions learned on the first
operating the first device,     Tesla vehicle (the claimed “first device”).
wherein the first device or
the      second       device    For instance, memory of the second Tesla vehicle stores a first circumstance representation (e.g.,
autonomously        performs    representation of a pedestrian in front the vehicle, representation of surrounding vehicles in a lane
one or more operations          change situation, representation of an intersection in a left turn situation, etc.) correlated with a set of
defined by the first one or     driving instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions
more instruction sets for       for turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the
operating the first device.     claimed “first one or more instruction sets”) that have previously been learned on a first Tesla
                                vehicle (the claimed “first device”) and have been transferred to the second Tesla vehicle (the
                                claimed “second device”) via the fleet over-the-air (OTA) software update. In response to determining
                                that the incoming circumstance representation (e.g., representation of a pedestrian currently in front the
                                vehicle, representation of currently surrounding vehicles in a lane change situation, representation of a
                                current intersection in a left turn situation, etc.) is similar to (the claimed “at least partial match”) the
                                previously learned circumstance representation (e.g., representation of a pedestrian previously in front
                                the vehicle, representation of previously surrounding vehicles in a lane change situation, representation
                                of a previous intersection in a left turn situation, etc.), the processor of the second Tesla vehicle (the
                                claimed “second device”) causes the previously learned driving instruction (e.g., instructions for
                                applying the breaks so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                                instructions for turning left in an intersection, etc.) to be executed.

                                As stated by Elon Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge
                                learned from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates,
                                thereby enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement
                                driving knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and

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         Mr. Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
         companies. See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video
         https://www.youtube.com/watch?v=-b041NXGPZ8 at 38:58 (“I think a very powerful sustainable
         advantage for us is the fleet”), 44:40 (“it is such a big deal that we have the fleet”), 55:55 (“why is
         Tesla in such a unique and interesting position to really get all these three essentials right, and the
         answer to that of course is the fleet”), 122:14 (“it’s extremely difficult to catch up when Tesla has 100
         times more miles per day than everyone else combined”).




         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (so this is
         what a final architecture is going to look like. the vision system is going to crush down the dense video
         data into a vector space [incoming circumstance representation representing objects in the second
         Tesla vehicle’s surrounding]. it’s going to be consumed by both an explicit planner and a neural
         network planner [CNN that stores previously learned circumstance representations correlated
         with previously learned driving instructions and that searches for at least partially matching
         circumstance representation and correlated driving instructions] in addition to this, the network
         planner can also consume intermediate features of the network. Together, this produces a trajectory


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                            distribution and it can be optimized end to end both with explicit cost functions and human intervention
                            and other imitation data. this then goes into explicit planning function that does whatever it sees for that
                            and produces the final steering and acceleration commands for the car).
Claim 3                     Exemplary Infringement Evidence
3. The system of claim 1,   Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
wherein the first           enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance                includes the system of claim 1. Also, the first circumstance representation includes a first one or more
representation includes a   object representations, and wherein the second circumstance representation includes a second one or
first one or more object    more object representations.
representations, and
wherein the second          For example, the processor of the Tesla vehicle accesses its memory that stores at least a knowledgebase
circumstance                that includes a first circumstance representation including one or more object representations (e.g.,
representation includes a   representation of pedestrians, other vehicles, roads, buildings, etc.).
second one or more object
representations.            And the second circumstance representation received or generated by the Tesla vehicle includes a
                            second one or more object representations (e.g., representation of pedestrians, other vehicles, roads,
                            buildings, etc.).




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         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
         of the claimed “circumstance representations” with multiple object representations).




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